CM/ECF - NCED       8:19-cr-00181-CRI                        https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?149706331346984-L_1_0-1
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                                                                                                                 CLOSED

                                     U.S. District Court
                   EASTERN DISTRICT OF NORTH CAROLINA (Western Division)
                  CRIMINAL DOCKET FOR CASE #: 5:19-mj-01257-JG All Defendants


         Case title: USA v. Blocker et al                                   Date Filed: 02/26/2019
         Other court case number: 8:19-CR-181 District of South             Date Terminated: 02/27/2019
                                   Carolina


         Assigned to: Magistrate Judge James E.
         Gates

         Defendant (1)
         Celest Henry Blocker
         TERMINATED: 02/27/2019

         Pending Counts                               Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                            Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                   Disposition
         21 U.S.C. § 846; 21 U.S.C. § 841(a)(1); 21
         U.S.C. § 841(b)(1)(A); 18 U.S.C. §
         1952(a)(3); 18 U.S.C. § 2; 21 U.S. C. §
         843(b); 18 U.S.C. § 924(d); 21 U.S. C. §
         853; 21 U.S.C. § 881; 31 U.S.C.
         5317(c)(1); 31 U.S.C. § 5332(b)(2); 28
         U.S.C. § 2461(c)


         Assigned to: Magistrate Judge James E.
         Gates

         Defendant (2)



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         Danny Morales Lopez
         TERMINATED: 02/27/2019

         Pending Counts                               Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                            Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                   Disposition
         21 U.S.C. § 846; 21 U.S.C. § 841(a)(1); 21
         U.S.C. § 841(b)(1)(A); 18 U.S.C. §
         1952(a)(3); 18 U.S.C. § 2; 21 U.S. C. §
         843(b); 18 U.S.C. § 924(d); 21 U.S. C. §
         853; 21 U.S.C. § 881; 31 U.S.C.
         5317(c)(1); 31 U.S.C. § 5332(b)(2); 28
         U.S.C. § 2461(c)



         Plaintiff
         USA                                               represented by Dena J. King
                                                                          United States Attorney's Office
                                                                          310 New Bern Avenue, Suite 800
                                                                          Raleigh, NC 27601
                                                                          919-856-4883
                                                                          Fax: 919-856-4487
                                                                          Email: dena.king@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Assistant US Attorney


         Date Filed       #   Docket Text
         02/26/2019       1 Arrest (Rule 5) of Celest Henry Blocker, Danny Morales Lopez. (Horton, B.) (Horton,
                            B.). (Additional attachment(s) added on 2/26/2019: # 1 Arrest Warrant - Celest Henry
                            Blocker) (Horton, B.). (Additional attachment(s) added on 2/26/2019: # 2 Arrest
                            Warrant - Danny Morales Lopez) (Horton, B.). (Additional attachment(s) added on
                            2/26/2019: # 3 Penalty Sheet) (Horton, B.). (Entered: 02/26/2019)




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         02/26/2019          Set Hearing as to Celest Henry Blocker and Danny Morales Lopez: Initial Appearances
                             set for 2/27/2019 at 10:30 AM in Raleigh - 6th Floor Courtroom before Magistrate
                             Judge James E. Gates. (Horton, B.) (Entered: 02/26/2019)
         02/27/2019       2 CJA 23 Financial Affidavit by Celest Henry Blocker. (Horton, B.) (Entered:
                            02/27/2019)
         02/27/2019       3 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Celest Henry Blocker.
                            Signed by Magistrate Judge James E. Gates on 2/27/2019. (Horton, B.) (Entered:
                            02/27/2019)
         02/27/2019       4 CJA 23 Financial Affidavit by Danny Morales Lopez. (Horton, B.) (Entered:
                            02/27/2019)
         02/27/2019       5 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Danny Morales Lopez.
                            Signed by Magistrate Judge James E. Gates on 2/27/2019. (Horton, B.) (Entered:
                            02/27/2019)
         02/27/2019          ORAL MOTION for Detention filed by USA as to Celest Henry Blocker, Danny
                             Morales Lopez. (Horton, B.) (Entered: 02/27/2019)
         02/27/2019       6 Waiver of Rule 5(c)(3) Hearing by Celest Henry Blocker. (Horton, B.) (Entered:
                            02/27/2019)
         02/27/2019       7 Waiver of Rule 5(c)(3) Hearing by Danny Morales Lopez. (Horton, B.) (Entered:
                            02/27/2019)
         02/27/2019          ORAL MOTION to Unseal Case filed by USA as to Celest Henry Blocker and Danny
                             Morales Lopez only. (Horton, B.) (Entered: 02/27/2019)
         02/27/2019          ORAL ORDER granting Oral Motion to Unseal Case as to Celest Henry Blocker (1)
                             and Danny Morales Lopez (2). Entered by Magistrate Judge James E. Gates on
                             2/27/2019. (Horton, B.) (Entered: 02/27/2019)
         02/27/2019       8 Minute Entry for proceedings held before Magistrate Judge James E. Gates in Raleigh.
                            Initial Appearance in Rule 5 Proceedings as to Celest Henry Blocker and Danny
                            Morales Lopez held on 2/27/2019. Assistant U.S. Attorney present for government.
                            Government moves to unseal this case as to defendants Celest Henry Blocker and
                            Danny Morales Lopez. The court allows motion to unseal this case as to defendants
                            Celest Henry Blocker and Danny Morales Lopez only. Defendants request counsel.
                            Federal Public Defender appointed. Defendant advised of rights, charges and maximum
                            punishments. Government moves for detention. Defendants waive their Rule 5 Identity
                            Hearings. The court finds that the defendants are in fact the individuals named in the
                            indictment from the District of South Carolina. Defendants advise the court that they
                            would like to have their detention hearings held in the District of South Carolina. The
                            Court enters Commitment to Another District. Defendant ordered detained and
                            remanded to the custody of the U.S. Marshal. (Court Reporter - FTR) (Horton, B.)
                            (Entered: 02/27/2019)
         02/27/2019       9 COMMITMENT TO ANOTHER DISTRICT as to Celest Henry Blocker. Defendant
                            committed to District of South Carolina. Signed by Magistrate Judge James E. Gates on
                            2/27/2019. (Horton, B.) (Entered: 02/27/2019)
         02/27/2019      10 COMMITMENT TO ANOTHER DISTRICT as to Danny Morales Lopez. Defendant
                            committed to District of South Carolina. Signed by Magistrate Judge James E. Gates on



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                       2/27/2019. (Horton, B.) (Entered: 02/27/2019)



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